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6

7    Attorneys for Plaintiff, MICHELE MADAU, individually and on behalf of all
     similarly situated employees,
8

9                     IN THE UNITED STATE DISTRICT COURT
10                     CENTRAL DISTRICT OF CALIFORNIA
11

12   MICHELE MADAU, individually and Case No.
     on behalf of all similarly situated
13   employees,                          COMPLAINT
14
                 Plaintiffs,                  [CLASS ACTION]                              Plaintif
15

16        v.                              1. Violation of Fair Credit Reporting
                                                                             v. Act,
                                             15 U.S.C. § 1681b(b)(2)(A) and 15
17   NATURAL BALANCE PET FOODS,              U.S.C. § 1681n(a) (Obtaining
18   INC. (a California Corporation), and    Consumer Reports Without Facially
     DOES 1 through 100, inclusive,          Valid Authorizations)
19

20               Defendants.                   DEMAND FOR JURY TRIAL
21

22

23                                  INTRODUCTION
24         1.    This is a class action brought by Plaintiff MICHELE MADAU
25   (hereinafter “Plaintiff”) against NATURAL BALANCE PET FOODS, INC.
26   (“Defendant”).
27         2.    Plaintiff brings this nationwide class action on behalf of herself and
28   all other individuals who applied for employment with Defendant and who
                                            -1-
                                         COMPLAINT
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1    executed a release and authorization form permitting Defendant to procure a
2    consumer report and/or investigative a consumer report on them as part of
3    Defendant’s employment application (hereinafter “Class”). Specifically, Plaintiff
4    complains that Defendant has a uniform policy or practice of obtaining an
5    applicant’s consumer report by and through the use of a legally invalid
6    authorization form and has violated the Fair Credit Reporting Act (the “FCRA”) by
7    using a form that: 1) fails to provide a clear and conspicuous disclosure; and 2)
8    fails to provide a disclosure that appears in a document that consists solely of the
9    disclosure.
10

11                               JURISDICTION AND VENUE
12             3.   This Court has federal question jurisdiction over this action pursuant
13   to 28 U.S.C. § 1331 because this action arises under the FCRA, 15 U.S.C. § 1681,
14   et seq.
15             4.   This Court has personal jurisdiction over Defendant because
16   Defendant conducts business in this State, has systemic and continuous ties with
17   this state, and has agents and representatives that can be found in this state. Thus,
18   Defendant has sufficient minimum contact with, otherwise purposefully avails
19   itself of the markets in the State of California, or otherwise has sufficient contact
20   with this District to justify it being fairly brought into court in this District.
21             5.   Venue is proper in the United State District Court, Central District of
22   California pursuant to 28 U.S.C. § 1391, because Defendant maintains offices, has
23   agents, and/or is licensed to transact and does transact business in this District.
24   Key decisions, agreements and activities regarding the unlawful, fraudulent and
25   unconscionable actions of Defendant as described further within, were made in this
26   District and emanated to other districts including those in California. Furthermore,
27   Defendant has resided within this District and a substantial part of the events and
28   omissions giving rise to Plaintiff’s claims occurred in this District.
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                                             COMPLAINT
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1                                       THE PARTIES
2                   A. The Plaintiff
3              6.   MICHELE MADAU (“Plaintiff”) is a resident of Los Angeles
4    County, California. On or around September 2, 2011 in connection with Plaintiff’s
5    application for employment with Defendant, Plaintiff executed an authorization
6    and release form that purported to allow Defendant to obtain a consumer report
7    and/or an investigative consumer report on her.
8              7.   On information and belief, Defendant obtained a consumer report
9    and/or an investigative consumer report, by and through means of, one of the
10   following credit reporting agencies: Experian, Transunion, Equifax.
11                  B. The Defendant
12             8.   Defendant NATURAL BALANCE PET FOODS, INC. (“Defendant”)
13   owns and operates a business distributing premium dog and cat foods to various
14   stores across the United States. Plaintiff is informed and believes that each
15   application for employment executed by individuals across the United States and in
16   California included the same or nearly identical legally invalid release and
17   authorization form. Defendant’s agent for service of process in California is CT
18   CORPORATION SYSTEM which does business in California. The agent’s
19   address is 818 West Seventh Street, Second Floor, Los Angeles, California 90017.
20

21                              FACTUAL ALLEGATIONS
22             9.   On or about September 1, 2011, Plaintiff applied for employment with
23   Defendant. At that time, Plaintiff was required to sign certain application
24   documents, including a “Background Check Authorization” form (“Authorization
25   form”).1
26   ///
27         1
          An exemplar of the Release and Authorization Form completed and signed by Plaintiff is
28   attached as Exhibit “A”.

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                                              COMPLAINT
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1             10.    Plaintiff alleges on information and belief that in evaluating her for
2    the applied position, Defendant procured or caused to be prepared, a consumer,
3    investigative consumer, and/or credit report as defined by 15 U.S.C. Section
4    1681a(d)(1)(B), 15 U.S.C. Section 1681a(e), Cal. Civ. Code Section 1786.2(c), and
5    Cal. Civ. Code Section 1785.3(c).
6             11.    In connection with Plaintiff’s employment application, Plaintiff
7    completed Defendant’s standard application materials, which on information and
8    belief, were used by Defendant in the connection with its employment application
9    policies, procedures and/or practices. Among other things, Defendant’s
10   Employment Application contained the “Background Check Authorization” form
11   which included an agreement and consent for a background check.
12            12.    By signing the Authorization Form, Plaintiff “authorize[d]
13   NATURAL BALANCE PET FOODS, INC. and its affiliated companies … by and
14   through one or more of the following consumer reporting agencies: Experian,
15   Transunion, Equifax, (“Agencies”) to procure a consumer report and/or
16   investigative consumer report on [her]” (emphasis in original).
17            13.    The Agencies are consumer reporting agencies as that term is defined
18   in 15 U.S.C. 1681a(f) because, for monetary fees or dues, the Agencies regularly
19   engage in whole or in part in the practice of assembling or evaluating consumer
20   credit information or other information on consumers for the purpose of furnishing
21   consumer reports to third parties, and uses any means of facility of interstate
22   commerce for the purpose of preparing or furnishing consumer reports. See 15
23   U.S.C. 1681a(f).
24            14.     Indeed, Experian, Transunion, and Equifax are listed as the three
25   major national credit bureaus, a common type of credit reporting agency (“CRA”)
26   on internet websites.2
27
        2
28          See www.usa.gov/topics/money/credit/credit-reports/bureaus-scoring.shtml.

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                                               COMPLAINT
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1          15.    The Authorization Form stated that Plaintiff’s consumer report or
2    investigative consumer report:
3
                       [m]ay be obtained by Natural Balance Pet
                       Foods, Inc. from a consumer reporting
4                      agency.       […] I understand that an
5
                       investigative consumer report is a special
                       type of consumer report in which information
6                      about the character, general reputation,
7
                       personal characteristics, and mode of living
                       is obtained through personal interviews.
8

9          16.    On or about September 1, 2011 one or more Agencies assembled
10   and/or evaluated information on Plaintiff, for the purpose of preparing and/or
11   furnishing Plaintiff’s consumer report to Defendant.
12         17.    15 U.S.C. § 1681 defines “consumer report” in pertinent part as: “any
13   written, oral, or other communication of any information by a consumer reporting
14   agency bearing on a consumer’s credit worthiness, credit standing, credit capacity,
15   character, general reputation, personal characteristics, or mode of living which is
16   used or expected to be used or collected in whole or in part for the purpose of
17   serving as a factor in establishing the consumer’s eligibility for […] employment
18   purposes.”
19         18.    The document prepared and furnished by one or more Agencies and
20   procured by Defendant is a consumer report because it is written communication of
21   information by one or more of Agencies, a consumer reporting agency, that bears
22   on Plaintiff, a consumer, credit worthiness, credit standing, credit capacity,
23   character, general reputation, personal characteristics, or mode of living and was
24   used and collected in whole or in part for the purpose as a factor in establishing
25   Plaintiff’s eligibility for employment.
26         19.    Upon information and belief, Plaintiff’s consumer report includes,
27   among other information, background information, and information bearing on
28

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                                           COMPLAINT
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1    Plaintiff’s character, general reputation, personal characteristics and mode of
2    living.
3          20.    Upon information and belief, Plaintiff’s consumer report includes
4    background consumer information from private, non-governmental sources.
5          21.    On or about September 1, 2011 Defendant obtained Plaintiff’s
6    consumer report by and through one or more of the Agencies, a consumer
7    reporting agency, for employment purposes.
8          22.    For at least five years prior to filing of this action and through to the
9    present, Defendant consistently maintained and enforced a Release and
10   Authorization Form against Defendant’s applicants for employment, in violation of
11   Federal Law (the “Class Period”).
12         23.    Plaintiff is informed and believes that during the Class Period,
13   Defendant instituted a policy and practice in connection with Defendant’s
14   application for employment whereby Plaintiff and the Class were required to
15   execute a Release and Authorization Form purportedly authorizing Defendant to
16   obtain a consumer report or an investigative consumer report on them that may
17   include information relating to criminal and civil records, credit history,
18   employment history and other background consumer information as specified in
19   the Authorization Form. See, Exhibit “A”.
20         24.    The Notice form includes the following language which includes a
21   release:
22
                      I hereby release and agree to hold harmless
                      any individual, company, entity, institution or
23                    government agency from all liability with
24
                      regard to any false certification or information
                      provided to Natural Balance Pet Foods, Inc.
25                    pursuant to the background investigation
26
                      described in the accompanying Disclosure and
                      Authorization.     Further, I hereby release
27                    harmless from all liability with respect to the
28
                      receipt of such information.
                                              -6-
                                           COMPLAINT
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1          25.      Defendant’s waiver of rights provisions facially contravene the
2    requirements of the FCRA that the disclosure appear in a document that consists
3    solely of the disclosure.
4          26.      Plaintiff is informed and believes that Defendant knew that the
5    Authorization Form was invalid and in violation of FCRA, yet still required
6    Plaintiff and the Class to execute the invalid form.
7          27.      Based on the foregoing, Defendant’s Authorization Form is facially
8    invalid and in violation of the FCRA’s requirement that the authorization provide a
9    clear and conspicuous disclosure, and that the disclosure appears in a document
10   that consists solely of the disclosure.
11

12                                   CLASS ALLEGATIONS
13         28.      Plaintiff brings this action individually and as a class action pursuant
14   to Rule 23 of the Federal Rules of Civil Procedure.
15         29.      The Class to be certified against Defendant is defined as follows:
16
                      All individuals, who at any time from June 26,
                      2010 through the present, applied for positions
17                    for employment with Defendant and who
18
                      executed forms authorizing Defendant to obtain
                      a consumer report by and through a consumer
19                    reporting agency, as a part of Defendant’s
20
                      employment application.

21
           30.      The individuals in the Class are so numerous that joinder of all

22
     members is impracticable. Although the precise number of individuals is currently

23
     unknown, Plaintiff believes that the number of individual members of the Class

24
     exceeds 60.

25
           31.      Notice of the pendency and any resolution of this action can be

26
     provided to potential members of the Class by mail, print, and/or internet

27
     publication.

28

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                                            COMPLAINT
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1          32.     There is a well-defined community of interest in the litigation and the
2    potential members of the Class are readily ascertainable.
3          33.     This case is maintainable as a class action under Rule 23(b)(1) and
4    (b)(3) of the Federal Rules of Civil Procedure because questions of law and fact
5    common to the proposed Class predominate over any questions affecting only
6    individual members of the proposed Class, and because a class action is superior to
7    other available methods for the fair and efficient adjudication of this litigation.
8          34.     There are common questions of law and fact as to the Class that
9    Predominate over questions affecting only individual members, including but not
10   limited to:
11            a. Whether Plaintiff and the Class applied for employment positions
12                 with Defendant;
13            b. Whether Defendant’s Authorization Forms executed by Plaintiff and
14                 the Class were facially invalid by virtue of language included in the
15                 Authorization form that no longer makes it a “document that consists
16                 solely of the disclosure”, as required by 15 U.S.C. §1681b(b)(2)(A);
17            c. Whether Defendant violated 15 U.S.C. §1681b(b)(2)(A) by including
18                 language constituting a release of claims as part of its Authorization
19                 forms;
20            d. Whether Defendant’s Authorization forms executed by Plaintiff and
21                 the Class were invalid by virtue of language included in the release
22                 and authorization form that no longer makes it a “clear and
23                 conspicuous disclosure”, as required by 15 U.S.C. § 1681b(b)(2)(A);
24            e. Whether Defendant willfully violated the FCRA by including
25                 language releasing Defendant and third parties from liability;
26            f.   Whether Defendant willfully violated the FCRA thereby triggering
27                 statutory damages to Plaintiff and the Class as set forth in 15 U.S.C. §
28                 1681n(a);
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                                           COMPLAINT
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1             g. Whether Plaintiff and the Class are entitled to statutory damages
2                   under 15 U.S.C. § 1681n(a) and, if so, the amount and calculation of
3                   such statutory damages;
4             h. Whether Defendant negligently violated the FCRA by including
5                   language releasing Defendant and third parties from liability;
6             i.    Whether Defendant negligently violated the FCRA thereby triggering
7                   actual damages to Plaintiff and the Class as set forth in 15 U.S.C. §
8                   1681o(a) and, if so, the amount and calculation of such actual
9                   damages; and
10            j.    Whether Plaintiff and the Class are entitled to recover punitive
11                  damages under 15 U.S.C. § 1681n(a)(2) and, if so, the amount and
12                  calculation of such punitive damages.
13         35.      Both     Plaintiff   and    the   undersigned   counsel   are    adequate
14   representatives of the Class. Plaintiff is a member of the Class. Plaintiff has the
15   incentive and is committed to the prosecution of this action for the benefit of the
16   Class. Plaintiff has no interests that are antagonistic to those of the Class or that
17   would cause her to act adversely to the best interests of the Class. Plaintiff has
18   retained counsel experienced in class action litigation.
19         36.      In addition, class certification is superior because it will obviate the
20   need for unduly duplicative litigation that might result in inconsistent judgments
21   about Defendant’s practices.
22                                 FIRST CAUSE OF ACTION
23                 VIOLATION OF THE FAIR CREDIT REPORTING ACT
24       (Obtaining Consumer Reports Without Facially Valid Authorizations)
25                         (By Plaintiff and the Class Against Defendant)
26         37.      Plaintiff alleges and incorporates by reference the allegations in the
27   preceding paragraphs as though fully set forth herein.
28

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                                               COMPLAINT
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1           38.    Pursuant to 15 U.SC. § 1681b(a)(3)(B), a consumer reporting agency
2     may furnish a consumer report for employment purposes. Likewise, a consumer
3     report may be used for the evaluation of “a consumer for employment, promotion,
4     reassigning or retention of an employee.” 15 U.S.C. § 1681b(b)(1).
5           39.    The FCRA requires that, prior to procuring a consumer report on an
6     individual for employment purposes, the employer must: (1) provide a clear and
7     conspicuous disclosure to each applicant in writing that a consumer report may be
8     obtained for employment purposes; and (2) obtain the applicant’s authorization in
9     writing to obtain the report. 15 U.S.C. § 1681b(b)(2)(A). Section 1681b(b)(2)(A)
10    further specifies that the disclosure must be in writing “in a document that consists
11    solely of the disclosure”.
12          40.    Specifically, Section 1681b(b)(2)(A) provides, in relevant part:
13
                     a) … a person may not procure a consumer report, or
                         cause a consumer report to be procured, for
14                       employment purposes with respect to any
15
                         consumer, unless—

16                                 (i) a clear and conspicuous disclosure has
17
                                       been made in writing to the consumer at
                                       any time before the report is procured or
18                                     cause to be procured, in a document that
19
                                       consists solely of the disclosure, that a
                                       consumer report may be obtained for
20                                     employment purposes; and
21

22
                                   (ii) the consumer has authorized in writing
                                        (which authorization may be made on the
23                                      document referred to in clause (i)) the
24
                                        procurement of the report by that person.
                                        15 U.S.C. § 1681b(b)(2)(A) (emphasis
25                                      added).
26          41.    On or around September 1, 2011, Plaintiff was required to sign a
27    Background Check Authorization form as part of her job application.
28

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                                              COMPLAINT
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1              42.     Included in Defendant’s Authorization form was 1) a purported
2     authorization to procure a consumer report or investigate consumer report, and 2) a
3     waiver of liability provision. Defendant’s inclusion of the aforementioned in its
4     Authorization Form releasing Defendant from liability, executed by applicants
5     facially contravenes the requirements of 15 U.S.C. § 1681b(b)(2)(A) that the
6     disclosure be: 1) “clear and conspicuous”; and 2) appear “in a document that
7     consists solely of the disclosure.”
8              43.     As a matter of law, Defendant’s inclusion of the aforementioned
9     information invalidates the Authorization form for the purposes of the FCRA. See
10    Milbourne v. JRK Residential America, LLC, No. 3:12cv861, 2015 WL 1120284 at
11    *6 (E.D. Va. March 11, 2015) (denying employer’s motion for summary judgment
12    of plaintiff’s section 1681b(b)(2)(A) claim, finding that “inclusion of a waiver
13    within     the    document   containing   the   disclosure   would   violate   section
14    1681b(b)(2)(A)(i).”); see Singleton v. Domino’s Pizza, No. 11-1823, 2012 WL
15    245965 at *9 (D.Md. Jan. 25, 2012) (denying employer’s motion to dismiss
16    plaintiff’s section 1681b(b)(2)(A) claim, finding that “both the statutory text and
17    FTC advisory opinions indicate that an employer violates the FCRA by including a
18    liability release in a disclosure document”); see also Reardon v. ClosetMaid
19    Corporation, No. 2:08-CV-01730, 2013 WL 6231606 at *9 (W.D. Pa. Dec. 2,
20    2013) (granting partial summary judgment to plaintiff on plaintiff’s Section
21    1681b(b)(2)(A) claim, noting that “ClosetMaid’s inclusion of a release provision in
22    the Authorization Form…facially violates section 1681b(b)(2)(A)(i)” because “the
23    authorization form simply does not comply with the FCRA’s express requirement
24    that the disclosure appear in a document that consists solely of the disclosure…”);
25    see also, Letter from William Haynes, Attorney, Div. of Credit Practices, Fed
26    Trade Comm’n to Richard W. Hauxwekk, CEO, Accufax Div. (June 12, 1998),
27    1998 WL 34323756 (F.T.C.) (noting that the inclusion of a waiver in a disclosure
28    form will violate the FCRA).
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                                            COMPLAINT
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1           44.     Defendant    acted     willfully   by   providing   a   facially   invalid
2     Authorization Form that was in direct violation of the clear and unambiguous
3     requirements set forth in 15 U.S.C. § 1681b(b)(2)(A). Defendant knew or acted
4     with reckless disregard of its statutory duties and the rights of applicants and
5     employees, including Plaintiff and the Class, thus knowingly and/or recklessly
6     disregarding its statutory duties.
7           45.     On information and belief, as well as Plaintiff’s investigation,
8     Defendant’s conduct was willful because:
9              a. Defendant required Plaintiff and the Class to execute Authorization
10                  Form knowing that it was facially invalid in violation of the FCRA
11                  and Defendant’s statutory duties;
12             b. Defendant acted with reckless disregard of the FCRA requirements
13                  and Defendant’s statutory duties when it required Plaintiff and the
14                  Class to execute the Release and Authorization Form that was facially
15                  invalid and in violation of the clear and unambiguous requirements of
16                  the FCRA;
17             c. On information and belief, Defendant was advised by skilled lawyers
18                  and other professional employees, and advisors knowledgeable about
19                  the FCRA requirements;
20             d. The plain language of the statute unambiguously indicates that
21                  inclusion of a liability release in a disclosure form violates the
22                  disclosure and authorization requirements;
23             e. The FTC’s express statements, pre-dating Defendant’s conduct, state
24                  that it is a violation of 15 U.S.C. § 1681b(b)(2)(A) to include a
25                  liability waiver in the FCRA disclosure form; and
26             f.   On information and belief the Agencies informed Defendant of its
27                  obligations under the FCRA and required Defendant to certify its
28                  compliance with the FCRA.
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                                             COMPLAINT
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1           46.      Pursuant to 15 U.S.C. § 1681n(a)(1)(A), Plaintiff and the Class are
2     entitled to statutory damages due to Defendant’s willful failure to comply with the
3     requirements posed by 15 U.S.C. § 1681b(b)(2)(A) of an amount not less than
4     $100 and not more than $1,000.
5           47.      In the alternative, Plaintiff alleges that Defendant’s conduct in
6     violation of the FCRA and Defendant’s statutory duties was negligent, and
7     therefore Plaintiff and the Class are entitled to actual damages, if any pursuant to
8     15 U.S.C. §1681o(a)(2).
9           48.      Upon information and belief, Plaintiff and the Class suffered actual
10    damages as a result of Defendant’s negligent conduct.
11          49.      Plaintiff and the Class are entitled to recover punitive damages for
12    Defendant’s willful violations, in an amount as the Court may allow.
13          50.      Pursuant to 15 U.S.C. § 1681n(a)(3) and § 1681o(a)(2), Plaintiff and
14    the Class are also entitled to recover costs of suit with reasonable attorneys’ fees,
15    as determined by the Court.
16

17                                   PRAYER FOR RELIEF
18
            WHEREFORE, Plaintiff on behalf of the Class, prays for an order for relief
19
      as follows:
20
           1. That Defendant be found liable to Plaintiff and the Class;
21
           2. For a declaration that Defendant violated the rights of Plaintiff and the
22
                  Class under the FCRA, and any other applicable law;
23
           3. Pursuant to 15 U.S.C. § 1681n(a)(1)(A), an award of statutory damages
24
                  to Plaintiff and the Class in an amount equal to $1,000 for Plaintiff and
25
                  each member of the Class for Defendant’s willful violations of the
26
                  FCRA;
27

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                                             COMPLAINT
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1            4. In the alternative to statutory damages, and pursuant to 15 U.S.C.
2               §1681o(a)(1), an award of actual damages to Plaintiff and each member
3               of the Class, in an amount according to proof, for Defendant’s negligent
4               violation of the FCRA;
5            5. Pursuant to 15 U.S.C. § 1681n(a)(2), an award of punitive damages to
6               Plaintiff and the members of the Class in an amount to be determined by
7               the Court;
8            6. For an order certifying the Class under Rule 23 of the Federal Rules of
9               Civil Procedure;
10           7. For costs of suit and expenses incurred herein, including reasonable
11              attorneys’ fees and costs allowed under relevant provision of law
12              including, but not limited to, those allowed under 15 U.S.C.
13              §1681n(a)(3), 15 U.S.C. §1681o(a)(2), and/or other applicable provisions
14              of law; and
15           8. For any and all other relief that the Court may deem just, proper and
16              equitable in the circumstances.
17

18
                                DEMAND FOR JURY TRIAL
19
             Plaintiff hereby demands a jury trial of her claims to the extent authorized by
20
      law.
21

22
      Dated: June 26, 2015                   MAHONEY LAW GROUP, APC
23

24
                                               /s/Jennifer Han
25
                                             Jennifer Han, Attorney for Plaintiff
26

27

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                                           COMPLAINT
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                                     PROOF OF SERVICE
